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           5      Counsel for Plaintiff Rachel Banks Kupcho
           6
                                                     UNITED STATES DISTRICT COURT
           7
                                                  NORTHERN DISTRICT OF CALIFORNIA
           8

           9                                                 SAN FRANCISCO DIVISION

          10        MAXIMILLIAN KLEIN, et al.,                               Case No. 3:20-CV-08570-JD

          11                                                   Plaintiffs,
                                                                               DECLARATION OF PLAINTIFF
          12                                                                   RACHEL BANKS-KUPCHO IN
                            v.
                                                                               SUPPORT OF APPLICATION FOR
          13                                                                   APPOINTMENT AS INTERIM LEAD
                    META PLATFORMS,
          14                                                                   CONSUMER CLASS COUNSEL BY
                                                              Defendant.       SHANA E. SCARLETT OF HAGENS
          15                                                                   BERMAN SOBOL SHAPIRO LLP, OR
                                                                               IN THE ALTERNATIVE, SHANA E.
          16                                                                   SCARLETT AND REBECCA A.
                                                                               PETERSON OF LOCKRIDGE
          17                                                                   GRINDAL NAUEN P.L.L.P.
          18

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          20
                    This document relates to:
          21
                    All Consumer Actions
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           1               I, Rachel Banks-Kupcho, declare as follows:

           2                1.      I am a Named Plaintiff in the matter captioned Klein et al. v. Meta Platforms, No.

           3       3:20-cv-08570-JD.

           4                2.      I have been involved since the inception of this litigation. I am one of three named

           5       representatives for the consumer class. I have actively participated to date in this litigation through

           6       responding to interrogatories, and collecting documents for production to Defendant Facebook. I

           7       have been in frequent contact with attorneys from Hagens Berman Sobol Shapiro LLP and

           8       Lockridge Grindal Nauen P.L.L.P. throughout this litigation.

           9                3.      I have been apprised of the current discussion regarding leadership in this case
          10       through discussions with counsel. I understand that the Court has denied a motion to substitute

          11       Kevin Teruya as interim co-lead consumer class counsel. I understand the Court has stated that the

          12       consumer class counsel arrangement has become dysfunctional and not in the best interests of the

          13       putative class. I have communicated with Ms. Scarlett and Ms. Peterson and I agree with the Court’s

          14       conclusion.

          15                4.      I believe both Hagens Berman and Lockridge value diversity, and I have worked

          16       with their attorneys and staff from varied backgrounds, including gender, age, race, nationality and

          17       sexual orientation.

          18                5.      I believe that diversity in the leadership team is essential to successfully representing

          19       myself as well as the national class that I represent.
          20                6.      Given the above, I support an appointment of Shana E. Scarlett as sole Lead Counsel

          21       in this case, or in the alternative, Shana E. Scarlett and Rebecca A. Peterson as Co-Lead Counsel for

          22       the consumer class.

          23                I declare under penalty of perjury under the laws of the United States that the foregoing is

          24       true and correct. Executed this 3rd day of February, 2023 at Edina, Minnesota.

          25

          26
                                                                                RACHEL BANKS-KUPCHO
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          28
                  BANKS-KUPCHO DECL. ISO MOT. TO APPT. INTERIM
                  LEAD COUNSEL IN CONSUMER ACTION – Case No. 20-CV-
                  08570-JD
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